  

Case 2:19-cv-18252-CGC- ESK Document 4 Filed 10/07/19 Page 1 of 1 PagelD: 46

Form 1 - AFFIDAVIT OF SERVICE My | ll rT | ll | ll l l

TWILL MURRAY, LLP
UNITED STATES DISTRICT COURT DISTRICT OF NEW JERSEY

 

JOSEPH MURRAY 2:19 ev 18252-CCC-ESK
PLAINTIFF Date Filed
- vs - Office No.
CHARLES E. BAXLEY Court Date.

DEFENDANT

STATE OF NEW YORK, COUNTY OF NEW YORK :SS:

ERIC GOLDKLANK being duly sworn, deposes and says; I am over 18 years of age, not a party to
this action, and reside in the State of New York.
That on the 30TH day of SEPTEMBER, 2019 2:26PM at
90 JOHN STREET SUITE 403
NEW YORK NY 10038
I served the SUMMONS AND COMPLAINT
upon CHARLES E. BAXLEY
the DEFENDANT ..ctherein named by delivering.and leaving a true copy or copies of the
aforementioned documents with CHARLES E. BAXLEY
said DEFENDANT personally.

Deponent describes the person served as aforesaid to the best of deponent's ability at the time
and circumstances of the service as follows:

SEX: MALE COLOR: WHITE HAIR: GREY

APP.AGE: 80 APP. HT: 5'8 APP. WT: 130

OTHER. IDENTIFYING FEATURES

GLASSES

That at the time of sérvice,.as aforesaid, I-asked the DEFENDANT whether he/she was--in the
military service of the United States Government, or of the State of New York, and received a
negative reply. Recipient wore ordinary civilian clothes and no military uniform. Upon
information and belief based upon the conversation and observation as aforesaid I aver that the
DEFENDANT is not in the military service, and is not dependent on anyone in the military
service of the United States Government or the State of New York, as that term is defined in
statutes of the State of New York, or of the Federal Soldiers and Sailors a ilian Relief Act.

  
 

Sworn. to..before me-this
O1lST day. of OCTORER,

 
   
 

 

 

ERIC GOLDKLANK DCA LI® #1298974
PM Legal, LLC

SELENA INES ADA “ ea . 75 MAIDEN LANE 11TH FLOOR
Notary Public, State New York NEW YORK, NY 10038

No. O01AD6365042 Reference No: 3-TWILL-2384147
Qualified.in NEW YORK COUNTY

Commission Expires 09/25/2021

2a

 
